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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DIAMOND TRIUMPH AUTO GLASS, File No. 3:CV-02-0514
INC., (James M. Munley, U.S.D.J.)
Plaintiff,
FILED
y SCRANTON
SAFELITE GROUP, INC. et al. APR 1 4 2008
Defendants. PER ———5 aK

 

 

SUGGESTION OF BANKRUPTCY
AND AUTOMATIC STAY OF PROCEEDINGS

PLEASE TAKE NOTICE THAT, on April 1, 2008 (the “Petition Date”),
Diamond Glass, Inc., f/k/a Diamond Triumph Auto Glass, Inc., plaintiff in the
above captioned action, and certain of its affiliates, including DT Subsidiary Corp.
(collectively, the “Debtors”’) filed voluntary petitions for relief under Chapter 11 of
the United States Bankruptcy Code, 11 U.S.C. §§ 101-1330 (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court’), the Honorable Judge Christopher S. Sontchi presiding. The
Debtors’ cases are being jointly administered under Case No. 08-10601(CSS). A

copy of the bankruptcy petition cover page is attached as Exhibit “A.”
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PLEASE TAKE FURTHER NOTICE THAT, pursuant to section 362 of the
Bankruptcy Code, no cause of action existing prior to the Petition Date may be
commenced or prosecuted against the Debtors, and no related judgment may be
entered or enforced against the Debtors or property of the bankruptcy estate.

Date: April 10, 2008 Respectfully submitted,

/s/_ John J. Franchini

William P. Quinn, Jr. (PA 39083)

John J. Franchini (PA 86107)

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Attorneys for Plaintiff Diamond Triumph
Auto Glass, n/k/a Diamond Glass, Inc.
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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing Suggestion of
Bankruptcy and Automatic Stay of Proceedings has been served via first class,

U.S. Mail, postage prepaid this 10th day of April 2008, upon the following:

John Tole Mary E. D’ Andrea
JONES DAY Clerk of the Court
500 Grant Street, Suite 3100 PO Box 1148
Pittsburgh, PA 15219-2502 Scranton, PA 18501

/s/_ — John J. Franchini

 
 

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EXHIBIT A

 

District of Delaware

United States Bankruptcy Court

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle}:
Diamond Glass, Inc.

FName of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

See Attachment

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names)-

 

Last four digits of Soc. Sec. or Individual-Taxpayer LD. (ITIN) NoComplete EIN
(if more than one, state all!)

XX-XXXXXXX

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (TIN) No/Complete EIN
(if more than one, stare all)

 

Street Address of Debtor (No. and Street, City, and State):
220 Division Street
Kingston, PA

Street Address of Joint Debtor (No, and Street, City, and State):

 

 

ZIP Code ZIP Code
18704 —
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Luzerne
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZIP Code ZIP Code

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

 

Nature of Business
(Check one box)
0 Health Care Business

Type ‘of Debtor
(Form of Organization}
(Check one box)

GF Individual (includes Joint Debtors}
See Exhibit D on page 2 of this form.

Wil Corporation (includes LLC and LLP}
0) Partnership

O1 Other {If debtor is not one of the above entities,
check this box and state type of entity below.)

in 1) U.S.C. § 101 (513)
OF Railroad
OU Stockbroker
0 Commodity Broker
0 Clearing Bank
Wi Other

Tax-Exempt Entity
{Check box, if applicable)

 

CO Single Asset Real Estate as defined

O Debtor is a tax-exempt organization
under Title 26 of the United States
Code (the Intermmal Revenue Code).

Chapter of Bankruptcy Code Under Which
the Petltlon is Filed (Check one box)

OO Chapter 7

O Chapter 9 O) Chapter 15 Petition for Recognition
Wi Chapter 11 ofa Foreign Main Proceeding

O Chapter 12 O} Chapter 15 Petition for Recognition
0) Chapter 13 of a Foreign Nonmain Procecding

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Nature of Debts
(Check one box)
C1 Debus ore primarily consumer debs,
defined in 1] U.S.C. § 101(8) as
"incurred by an individual primarily for
a personal, family, or household purpose.”

BB Debis are primarily
business debi.

 

 

Filling Fee (Check one box)
Mj Full Filing Fee attached
CO Filing Fee to be paid in installments (applicable to individuals only), Must

attach signed application for the court's consideration certifying that the debtor
is unable to pay fee except in installments. Rule 1006(b). See Official Form 34.

OO Filing Fee waiver requested (applicable to chapter 7 individuals only}. Must
attach signed application for the court's consideration, See Official Form 3B.

Check one box: Chapter 11 Debtors
O Debtor is a smal) business debtor as defined in 11 U.S.C, § 101(51D).
HB Debtor is not a small business debtor as defined in 1) U.S.C. § 101(51D).
Check if:
O1 Debtor's aggregate noncontingent liquidated debts (excluding debts owed
to insiders or affiliates) are Jess than $2,190,000.
Check all applicable boxes:
OD A plan is being filed with this petition.
O Acceptances of the plan were solicited prepetition from one or more
classes of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR COURT USE ONLY
BB Debtor estimates that funds will be available for distribution to unsecured creditors,
DO Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
there will be no funds available for distribution to unsecured creditors,
Estimated Number of Creditors
oO oO oO a Oo OD Oo Oo oO
I- 50- 100- 200. 1,000- 5,001- 19,001- -25,001- —_50,001- OVER
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
O o Oo oO
3049 $50,001 to «$100,001 1a $500,001 © $1,000,00] $10,000,001 $50,000,001 $100,000,001 $500,000.00! More than
$50,000 $100,000 $400,000 to $1 fo $10 to $30 to 51C0 ro £500 iv $1 billion $1 billion
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Estimated Liabilities
a Oo a
SD to $50,001 to $100,001) io $500,001 —$1,000,00/ $10,000,001 $50,000,00)  $100,000,00) $500,000.00 More than
$50,000 100,000 = §300.000 sw $I 1 $10 to $50 fo S100 ta 3500 to SP Billion $1 billion
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